






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       





NO. 3-94-345-CR





JIM BOB BURNS,



	APPELLANT



vs.




THE STATE OF TEXAS,



	APPELLEE


                       




FROM THE COUNTY COURT AT LAW NO. 3 OF TRAVIS COUNTY



NO. 392157, HONORABLE DAVID CRAIN, JUDGE PRESIDING



                       




PER CURIAM



	This is an appeal from a judgment of conviction for assault with bodily injury. 
Appellant has filed a motion to withdraw the appeal.  No decision of this Court has been
delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. 59(b).



Before Justices Powers, Aboussie and B. A. Smith

Appeal Dismissed on Appellant's Motion

Filed:   November 2, 1994

Do Not Publish


